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13   Attorneys for Defendants Glock, Inc. and specially-appearing Glock Ges.m.b.H.
14                               UNITED STATES DISTRICT COURT
15                            NORTHERN DISTRICT OF CALIFORNIA
16
17    STEVEN C. JOHNSON, an individual, on )                CASE NO.: 3:20-CV-08807
      behalf of himself and all others similarly )
18    situated,                                  )          DECLARATION OF MARION V.
                                                 )          MAUCH IN SUPPORT OF GLOCK,
19                                                          INC.'S AND GLOCK Ges.m.b.H.’S
                   Plaintiff,                    )          NOTICE OF REMOVAL OF ACTION
20                                               )          PURSUANT TO 28 U.S.C. §§ 1332,
      vs.                                        )          1441, 1446 AND 1453
21                                               )
22    GLOCK, INC., a Georgia Corporation; )
      GLOCK Ges.m.b.H., an Austrian entity; JOHN )
23    and JANE DOES I through V;                 )
      ABC CORPORATIONS I-X,                      )
24    XYZ PARTNERSHIPS, SOLE                     )
      PROPRIETORSHIPS and/or JOINT               )
25
      VENTURES I-X,                              )
26    GUN COMPONENT MANUFACTURERS I- )
      V                                          )
27                                               )
                   Defendants.                   )
28
                                                 )
     23381187v3                                        CASE NO. 3:20-CV-08807
                                                        1
     DECLARATION OF MARION V. MAUCH IN SUPPORT OF GLOCK, INC.'S AND GLOCK
      Ges.m.b.H.’S NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332,
                                 1441, 1446 AND 1453
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 1           I, Marion V. Mauch, declare as follows:
 2           1.       I am an attorney duly licensed to practice law before all courts of the State of
 3   California and the United States District Court for the Northern District of California. I represent
 4   Defendants Glock, Inc. and specially-appearing Glock Ges.m.b.H. (“Glock Defendants”) in the
 5   above-captioned matter. I am a member in good standing with the State Bar of California. I have
 6   personal knowledge of the following facts, except for those based on information and belief, which
 7   I believe to be true, and if called upon to testify, I could and would competently testify to their
 8   truth and accuracy.
 9           2.       This declaration is submitted in support of Glock Defendants’ Notice of Removal
10   to the United States District Court for the Northern District of California under 28 U.S.C. §§ 1332,
11   1441, 1446 and 1453.
12           3.       In executing this declaration, I do not intend, and Glock Defendants have not
13   authorized me, to waive any protections or privileges Glock Defendants may have as to

14   proprietary, trade secret, and/or confidential information, or to waive Glock Defendants’ attorney-

15   client privilege as to any of its communications or to waive the work product immunity developed

16   in anticipation of or in response to litigation. I intend only to describe certain factual matters that

17   are pertinent to this declaration.

18           4.       The removed case is a civil putative class action commenced in the Superior Court

19   of California, County of Alameda by Plaintiff Steven C. Johnson entitled Steven C. Johnson v.

20   Glock, Inc.; Glock Ges.m.b.H.; et al., Case No. RG20075498 (“State Action”).

21           5.       On November 11, 2020, Plaintiff served Glock, Inc. with a copy of the Summons

22   and First Amended Complaint. Also, on November 11, 2020, Plaintiff attempted to serve Glock

23   Ges.m.b.H with a copy of the Summons and First Amended Complaint by service on Glock, Inc.

24           6.       Attached as Exhibit A are true and correct copies of all process, pleadings, and

25   orders for the State Action in Glock’s possession pursuant to 28 U.S.C. § 1446(a).

26           7.       Glock, Inc., at the time this action was commenced, was and still is, a corporation

27   organized under the laws of the State of Georgia, with its principal place of business located in the

28
     23381187v3                                       CASE NO. 3:20-CV-08807
                                                       2
     DECLARATION OF MARION V. MAUCH IN SUPPORT OF GLOCK, INC.'S AND GLOCK
      Ges.m.b.H.’S NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332,
                                 1441, 1446 AND 1453
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 1   State of Georgia, and was not and is not organized under the laws of the State of California,
 2   wherein this action was brought.
 3            8.       Attached as Exhibit B is a true and correct copy of the Business Information for
 4   Glock,          Inc.     on       the     Georgia        Secretary     of      State’s      website
 5   (https://ecorp.sos.ga.gov/BusinessSearch/BusinessInformation?businessId=692860&businessTyp
 6   e=Domestic%20Profit%20Corporation&fromSearch=True) which identifies Glock, Inc.’s place
 7   of incorporation and principal office address in Georgia.
 8            9.       Glock Ges.m.b.H., at the time this action was commenced, was and still is, an
 9   Austrian limited liability company organized under the laws of the foreign country Austria, with
10   its principal place of business located in Austria, and its shareholders located in Austria, and was
11   not and is not organized under the laws of the State of California, wherein this action was brought.
12            10.      Attached as Exhibit C is a true and correct copy of the following webpage from
13   Glock,                   Inc.’s              December                  2015                 website

14   (https://web.archive.org/web/20141225174555/http:/us.glock.com/heritage/timeline)            which

15   indicates that the .45 Auto pistol came into series production in mid-1991.

16            11.      Attached as Exhibit D is a true and correct copy of the following webpage from

17   the Open Justice website (https://openjustice.doj.ca.gov/data-stories/2018/gun-sales-california)

18   which indicates that there were 525,979 handguns sold in California in 2017 of which 13.1% were

19   manufactured by Glock.

20            I declare under penalty of perjury under the laws of the United States of America that the

21   foregoing is true and correct and if called as a witness I could and would so testify.

22     Executed this 11th day of December, 2020 in Redondo Beach, California.

23
24                                                           MARION V. MAUCH
                                                             Marion V. Mauch (SBN 253672)
25                                                           BOWMAN AND BROOKE LLP
26                                                           970 West 190th Street, Suite 700
                                                             Torrance, CA 90502
27                                                           Telephone:    (310) 768-3068
                                                             Facsimile:    (310) 719-1019
28
                                                             marion.mauch@bowmanandbrooke.com
     23381187v3                                          3
     DECLARATION OF MARION V. MAUCH IN SUPPORT OF GLOCK, INC.'S AND GLOCK
      Ges.m.b.H.’S NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. §§ 1332,
                                 1441, 1446 AND 1453
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 1                                       PROOF OF SERVICE
                                         F.R.C.P Rule 5(b)(2)
 2
      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3
      I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
 4    not a party to the within action; my business address is 970 West 190th Street, Suite 700,
      Torrance, CA 90502.
 5
     On December 11, 2020, I served the foregoing document described as DECLARATION OF
 6   MARION V. MAUCH IN SUPPORT OF GLOCK, INC.’S AND GLOCK Ges.m.b.H.’S
 7   NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446, AND 1453 on all
     interested parties in this action by placing  the original  a true copy thereof enclosed in
 8   sealed envelopes addressed as follows:
      Craig M. Nicholas, Esq.                          Attorneys for Plaintiff
 9
      Alex Tomasevic, Esq.
10    NICHOLAS & TOMASEVIC, LLP                        Telephone:     619-325-0492
      225 Broadway, 19th Floor                         Facsimile:     619-325-0496
11    San Diego, CA 92101                              Email:         cnicholas@nicholaslaw.org
                                                                      atomasevic@nicholaslaw.org
12
13    Robert K. Lewis, Esq.                             Attorneys for Plaintiff
      Christopher A. Treadway, Esq.
14    LEWIS LAW FIRM, PLC                               Telephone:     602-889-6666
      2302 N. 3rd Street                                Facsimile:     602-252-1446
15
      Phoenix, AZ 85004                                 Email:         rob@lewisandporka.com
16                                                                     chris@lewisandporka.com

17    Amy M. Pokora, Esq.                               Attorneys for Plaintiff
      2302 N. 3rd Street
18    Phoenix, AZ 85004                                 Telephone:     602-889-6666
19                                                      Facsimile:     602-252-1446
                                                        Email:         amy@lewisandporka.com
20
21         BY MAIL (F.R.C.P. Rule 5(b)(2)): As follows: I am "readily familiar" with the firm's
            practice of collection and processing correspondence for mailing. Under that practice it
22
            would be deposited with U.S. postal service on that same day with postage thereon
23          fully prepaid at Torrance, California in the ordinary course of business. I am aware that
            on motion of the party served, service is presumed invalid if postal cancellation
24          date or postage meter date is more than one day after date of deposit for mailing.
     Executed on December 11, 2020, at Torrance, California.
25
           (Federal) I declare that I am employed in the office of a member of the bar of this
26          court at whose direction the service was made.
27
28                                                Stacy Eikenberry

     23381187v3                                     CASE NO. 20-CV-08807
                                                    4
     GLOCK DEFENDANTS’ NOTICE OF REMOVAL PURSUANT TO 28 U.S.C. §§ 1332, 1441,
                                1446, AND 1453
